                                United States Court of Appeals
                                     for the Ninth Circuit
                                             P.O. Box 31478
                                      Billings, Montana 59107-1478

    CHAMBERS OF
SIDNEY R. THOMAS                                                                  TEL: (406) 373-3200
   CHIEF JUDGE                                                                    FAX: (406) 373-3250


Dear Counsel:

         I write to introduce you to the court’s mediation program. The court offers you and your
clients professional mediation services, at no cost, to help resolve disputes quickly and efficiently and
to explore the development of more satisfactory results than can be achieved from continued litigation.
Each year the mediators facilitate the resolution of hundreds of cases, from the most basic contract and
tort actions to the most complex cases involving multiple parties, numerous pieces of litigation and
important issues of public policy.

       The eight circuit mediators, all of whom work exclusively for the court, are highly experienced
attorneys from a variety of practices; all have extensive training and experience in negotiation,
appellate mediation, and Ninth Circuit practice and procedure. Although the mediators are court
employees, the court has adopted strict confidentiality rules and practices to ensure that what goes on
in mediation stays in mediation. See Circuit Rule 33-1.

        The first step in the mediation process is case selection. To assist the mediators in the case
selection process, appellants/petitioners must file a completed Mediation Questionnaire within 7
days of the docketing of the case. See Circuit Rules 3-4, and 15-2. Appellees may also fill out and file
a questionnaire. The questionnaire with filing instructions is available here. Once the Mediation
Questionnaire is submitted, the parties will receive via NDA a link to a separate form that will allow
them to submit confidential information directly to the Circuit Mediators. Counsel may also submit
confidential information at any time to ca09_mediation@ca9.uscourts.gov.

        In most cases, the mediator will schedule a settlement assessment conference, with counsel
only, to determine whether the case is suitable for mediation. Be assured that participation in the
mediation program will not slow down disposition of your appeal. Mediation discussions are not
limited to the issues on appeal. The discussions can involve other cases and may include individuals
who are not parties to the litigation, if doing so enables the parties to reach a global settlement.

      Further information about the mediation program may be found on the court’s website:
www.ca9.uscourts.gov/mediation/. Please address questions directly to the Mediation Program at
415-355-7900 or ca09mediation@ca9.uscourts.gov.

                                               Sincerely,



                                             Sidney Thomas
